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 7
                         UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9
10
11
12   NEMAN BROTHERS & ASSOC.,                     Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
                                                  PLAINTIFFS NEMAN BROTHERS &
14                                                ASSOC., INC. LOCAL RULE 56-1
               Plaintiff/Counter-Defendant,       STATEMENT OF UNCONTROVERTED
15                                                FACTS AND CONCLUSIONS OF LAW
               vs.                                IN SUPPORT OF PLAINTIFFS’
16                                                MOTION FOR SUMMARY JUDGMENT
                                                  AND/OR ADJUDICATION
17   INTERFOCUS, INC., a California
     Corporation, et al.,
18              Defendant/Counter-Claimant        Date: August 23, 2021
19                                                Time: 10 a.m.
                                                  Courtroom 8D
20
                                                  Honorable Judge Christina A. Snyder
21
22
23
24
25
26
27
28



                                              1
       STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW
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 1           JOINT STATEMENT OF UNCONTROVERTED FACTS
 2
                            Uncontroverted Fact                             Basis
 3
 4         1. Neman Brothers is a Los Angeles-based textile        Declaration of Yoel
 5             converter selling fabrics to the garment            Neman (“Neman Decl.”)
 6             manufacturers that manufacture garments out         ⁋4.
 7             of our fabrics, to be sold to the retailer
 8             businesses. Neman Brothers generates business
 9             by marketing its line of designs to its
10             customers, who will purchase Neman Brothers’
11             design-oriented fabric to be created into
12             clothing and sold at retail stores nationwide.
13
           2. As the fabric wholesale industry is very             Neman Decl. ⁋5.
14
15             competitive as to the qualities and the pricing,
16             one major way of enhancing the
17             competitiveness is to develop unique designs to
18             be printed upon the fabric, which would make
19             the fabrics more attractive, unique and
20             competitive. Therefore, having original and
21             proprietary artwork is critical to Neman
22
               Brothers’ ability to compete in the marketplace,
23
               and it invests heavily in its design team and its
24
               proprietary line of design.
25
26
27
           3. Neman Brothers either internally creates, or         Neman Decl. ⁋6.
               purchases the ownership from design studios,
28



                                                 2
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 1             two-dimensional works of art for use on textiles
 2             which Neman Brothers customers use to make
 3             garments to be sold to retail businesses.
 4
           4. Unauthorized use of Neman Brothers' designs            Neman Decl. ⁋7.
 5
 6             undermines its competitive advantage in a

 7             highly competitive industry. Therefore, for
 8             protection of the designs, Neman Brothers
 9             routinely registers new artworks as a collection
10             for copyrights with the U.S. Copyright Office
11             before introducing them to the market.
12
           5. Unfortunately, as there are many businesses            Neman Decl. ⁋7.
13
               selling illegal copies, some willful infringers
14
               and some innocent infringers, Neman Brothers
15
               get to find many illegal copies, and for
16
               protection of its copyrights, has had to file
17             numerous cases when the parties could not
18             settle the matter prior to filing the actions. Most
19             of the cases settled. In none of the settlement
20             agreements in those cases, Neman Brothers
21             never agreed the defendants’ liability for future
22             infringements would be completely released as
23             long as the defendants remove the future
24             infringing garments off their selves or website
25             because it would be like giving a permanent
26             unlimited license for free unless the defendants
27             pay fair amount in return for such quasi-license.
28



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 1         6. Neman Brothers pays companies that perform            Neman Decl. ⁋8.
 2
               printing services to print fabric bearing Neman
 3
               Brothers’ exclusive designs. Neman Brothers
 4
               then sells that fabric to its customer base, which
 5
               is composed mainly of companies that make
 6
               and sell garments to retailers.
 7
 8         7. Neman Brothers, whenever introducing new              Neman Decl. ⁋9.

 9             designs, make sure its vendors and customers
10             understand that Neman Brothers’ designs are
11
               proprietary work copyright registered. Neman
12
               Brothers’ vendors agree to not print or sell
13
               fabric bearing Neman Brothers’ designs unless
14
               specifically authorized by Neman Brothers.
15
16         8. Neman Brothers is the owner of two-                   Neman Decl. ⁋10.

17             dimensional artworks called NB161106
18             (“Subject Design 1”), NB170268 (“Subject
19             Design 2”) and NB180228 (“Subject Design
20             3”) which are at issue in this case
21
           9. The Subject Design 1 was registered with the          Neman Decl. ⁋11 -
22
23             United States Copyright Office on January 13,        Exhibit 1 and 2.

24             2017, and allocated Registration VAu-1-304-

25             334.

26         10. The Subject Design 2 was registered with the         Neman Decl. ⁋12 -
27                                                                  Exhibit 3 and 4.
               United States Copyright Office on March 3,
28



                                                 4
       STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW
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 1
               2017, and allocated Registration VAu-1-317-
 2
               742.
 3
           11. The Subject Design 3 was registered with the       Neman Decl. ⁋13 -
 4
               United States Copyright Office on April 30,        Exhibit 5 and 6.
 5
               2018, and allocated Registration VAu-1-330-
 6
               970.
 7
 8         12. After the registrations of the new designs         Neman Decl. ⁋14.
 9             including the Subject Designs, Neman Brothers
10             provided samples in the forms of swatch (a
11             small piece of fabric), hanger (fabric sample
12             with headers), and CAD (a piece of paper
13             having the design printed upon) to the
14             customers, who are primarily garment
15             manufacturers, wholesalers and/or importers
16             either located in, or using the vendors in,
17             fashion districts in Los Angeles, Shenzhen,
18             Foshan, Guangzhou, and Shaoxing cities where
19             most of factories and mills are located.
20
           13. Neman Brothers on a constant basis widely          Neman Decl. ⁋14.
21
               circulated the samples, and sold the fabrics,
22
               bearing the Subject Designs.
23
24         14. While Neman Brothers give out swatches,            Neman Decl. ⁋14 -
25             hangers and CADs as samples for free to            Exhibit 7.
26             potential customers, in the case customers order
27
               a few yards, typically 1-5 yards, in order to
28



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 1
               make their garment samples, Neman Brothers
 2
               charge more or less of $5 dollars per yard,
 3
               depending on the quantity and the fabric type.
 4
               Neman Brothers also provide samples using
 5
               multiple different colorways for each design.
 6
 7         15. As shown in the swatch sheet, Neman Brothers       Neman Decl. ⁋15.

 8             creates multiple style numbers based on kind of

 9             fabric, colorways, and the design, which is to

10
               be used for communications with customers
               and vendors. For Subject Design 1, Neman
11
               Brothers used 20335 as part of the style
12
               numbers. While other part of the style numbers
13
               may change depending upon the fabric type and
14
               the colorways, 20335 would be used to specify
15
               the design on the fabric would be the Subject
16
               Design 1.
17
18         16. Neman Brothers sales history records,              Neman Decl. ⁋15;
19                                                                Exhibit 8.
               maintained in the MOD2, a sale record keeping
20
               system, show each sale of fabrics bearing the
21
               Subject Design 1, identified as “20335”, to
22
               customers in the amount of about 143,048
23
               yards for 2 years since the registration in 2017
24
25             until early 2019, which typically makes 70,000

26             to 140,000 garments to be sold through retailers

27             including national retail stores such as

28             Rainbow, Macy’s and other online stores. For



                                               6
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 1
               example, Byer California is one of the biggest
 2
               garment manufacturers in the U.S. selling the
 3
               garments to the national retail chains such as
 4
               Kohl’s, Macy’s, etc. and actually used on
 5
               multiple occasions in the years of 2017-2019 a
 6
               factory located in Shaoxing City to make
 7
               garments out of the Neman Brother’s fabrics.
 8
               Exhibit 8.
 9
10         17. Due to Interfocus’ infringing activities in 2019     Neman Decl. ⁋15.
11             and 2020 of displaying and selling the
12             Infringing Garments on its website, from the
13             second half of 2019 and until the present,
14             Neman Brothers did not receive the orders for
15             the fabrics bearing the Subject Design 1. Given
16             Neman Brothers typically sells the fabrics for

17             more or less of $3 per yard, its loss of sale from

18             the infringement amounts to $214,572 per year.

19             At the rate of 30% margin, Neman Brothers’

20             typical margin ratio, it is about $71,524 as lost

21             profit per year, as to Subject Design 1.

22             Therefore, after Interfocus infringement,

23             Neman Brothers lost $143,048 profits for the

24
               years of 2020 and 2021.

25         18. Neman Brothers’ swatch sheet showing                 Neman Decl. ⁋17 -
26                                                                  Exhibit 9.
               multiple different colorways of the Subject
27
               Design 2. For Subject Design 2, Neman
28



                                                7
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 1
               Brothers used 20419 as part of the style
 2
               numbers.
 3
           19. Neman Brothers sales history records,               Neman Decl. ⁋18 -
 4
                                                                   Exhibit 10.
 5             maintained in the MOD2, a sale record keeping
 6             system, show each sale of fabrics bearing the
 7             Subject Design 2, identified as “20419”, to
 8             customers in the amount of about 48,870 yards
 9             for 2 years mainly since the registration in 2017
10             until early 2019. Neman Brothers could sell
11
               some fabrics in 2020 and 2021 too, but the total
12
               amount compared to prior years, was minimal.
13
14
15
           20. Due to Interfocus’ infringing activities in 2019    Neman Decl. ⁋18 –
               and 2020 of displaying and selling the              Exhibit 10.
16
               Infringing Garments on its website, from the
17
               second half of 2019 and until the present,
18
               Neman Brothers did not receive, except a few,
19
               the orders for the fabrics bearing the Subject
20
               Design 2. Given Neman Brothers typically sells
21
               the fabrics for more or less of $3 per yard, its
22
               loss of sale from the infringement amounts to
23
               $73,305 per year. At the rate of 30% margin, it
24
               is about $21,991.5 as lost profit per year, as to
25
               Subject Design 2. Therefore, after Interfocus
26
               infringement, Neman Brothers lost $43,983
27
               profits for the years of 2020 and 2021.
28



                                                8
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 1         21. Exhibit 11 is a true and correct copy of Neman       Neman Decl. ⁋19 –
 2                                                                  Exhibit 11.
               Brothers’ swatch sheet showing multiple
 3
               different colorways of the Subject Design 3.
 4
               For Subject Design 3, Neman Brothers used
 5
               21060 as part of the style numbers. While other
 6
               part of the style numbers may change
 7
               depending upon the fabric type and the
 8
               colorways, 21060 would be used to specify the
 9
10             design on the fabric would be the Subject

11             Design 3.

12         22. Neman Brothers sales history records,                Neman Decl. ⁋20 -
13                                                                  Exhibit 12.
               maintained in the MOD2, our sales record
14
               keeping system, show each sale of fabrics
15
               bearing the Subject Design 3, identified as
16
               “21060”, to customers in the amount of about
17
               16,247 yards for 2 years since the registration
18
               in early 2018 until 2019. Due to Interfocus’
19
20             infringing activities in 2019 and 2020 of

21             displaying and selling the Infringing Garments

22             on its website, from the second half of 2019

23             and until the present, Neman Brothers received
24             only a few orders for the fabrics bearing the
25             Subject Design 3. Given Neman Brothers
26             typically sells the fabrics for more or less of $3
27             per yard, its loss of sale from the infringement
28             amounts to $24,370.5 per year. At the rate of


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 1
                 30% margin, it is about $7,311.15 as lost profit
 2
                 per year, as to Subject Design 3.
 3
 4
 5
             23. In 2019, Interfocus infringed upon Neman           Neman Decl. ⁋21 –
                                                                    Exhibit 12.
 6               Brothers’ copyrights on Subject Design 1, by
 7               displaying and selling the Maternity Dress
 8               (“Prior Infringing Garment 1”) and shown in
 9               Exhibit 13. Submitted herewith as Exhibit 13 is
10               a copy of the screenshots from Interfocus’
11
                 website (patpat.com) and the pictures of the
12
                 actual garment. Therefore, Neman Brothers
13
                 sued Interfocus in 2019 (case no. 2:19-cv-
14
                 10112) (“Prior Case”).
15
16
17           24. Interfocus also displayed and sold Baby Floral     Neman Decl. ⁋22 -

18                                                                  Exhibit 14.
                 Shirt and Dress (“Prior Infringing Garment 2”)
19               The said garments were also litigated in the
20               Prior Case.
21
             25. The Prior Case settled and the parties executed    Neman Decl. ⁋23 –
22
                                                                    Interfocus’ Sealed
23               the settlement agreement (“Prior Settlement
                                                                    Exhibit 3 in March 2020
24               Agreement”) as shown in
                                                                    (Docket no. 39).
25
26           26. Not long after the Prior Settlement, on            Neman Decl. ⁋24 –
27               September 4, 2020, I found Interfocus again        Exhibits 15-16.
28               displayed and sold the same Maternity Dress



                                                10
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 1               (“Infringing Garment 1”) in “navy” and “red”
 2               colors as shown in Exhibits 15 to 18. I ordered
 3               and bought the Infringing Garment 1.
 4               Submitted herewith as Exhibits 15 through 17
 5               are copies of the screenshots from Interfocus’
 6               website (patpat.com) displaying the Infringing
 7               Garment 1. The pictures of Infringing Garment
 8               1 are also submitted as Exhibits 16 and 18.
 9               While the dress in the picture of the dress on
10               the screenshot in the Prior Case had short
11               sleeves, the actual garment I received was

12               sleeveless. Exhibit 13. The Infringing Garment

13               1 I found and bought also were sleeveless and

14               identical with the dress in the Prior Case.

15
             27. The care tags of the Prior Infringing Garment 1    Neman Decl. ⁋25 –
16
                 and the Infringing Garment 1 however,              Exhibit 39.
17               indicated different Stock Keeping Unit
18               (“SKU”) numbers which means they were from
19               different batches of production. They also had
20               different Lot Numbers, different fabric
21               substance ratios (75% cotton and 25% polyester
22               v. 100% cotton), different labels (Interfocus v.
23               Shenzhen YS Garment Factory), and different
24               production times (201905 v. 202007). As it
25               typically takes a couple of months from
26               sampling to actual production, the production
27               in July 2020 means Interfocus started the whole
28



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 1               procedure of sampling, ordering, reviewing,
 2               etc. at least from May 2020, which is less than
 3               two months after the Prior Settlement on March
 4               23, 2020.
 5
             28. On September 4, 2020, Neman Brothers also         Neman Decl. ⁋26 –
 6
                 found Interfocus displayed and sold Baby Dress Exhibits 19 and 20.
 7
                 (Infringing Garment 2) which were using the
 8
                 exact same pattern with the Prior Infringing
 9
                 Garment 2). Neman Brothers ordered and
10
                 bought the Infringing Garment 2.
11
12           29. The side-by-side comparison of the care tags of Neman Decl. ⁋27 –
13               the two show that they also had different SKU
                                                                   Exhibit 40.
14               numbers, Lot Numbers, different fabric

15               substance ratios (100% cotton v. 95% cotton

16               and 5% polyester), different labels (Interfocus

17               v. Foshan SCCQ Trading Lt.), and different

18               production times (201901 v. 202007).

19
             30. Again, as it typically takes a couple of months   Neman Decl. ⁋27 –
20               from sampling to actual production, the           Exhibit 39.
21               production in July 2020 means Interfocus
22               started the whole procedure of sampling,
23               ordering, reviewing, etc. at least from May
24               2020, which is less than two months after the
25               Prior Settlement on March 23, 2020.
26
27
28



                                                12
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 1           31. In October 2020, I also found another              Neman Decl. ⁋28 –
 2               infringing garment called Green Maxi Dress         Exhibits 21 and 22.
 3               (“Infringing Garment 3”).
 4
             32. The side-by-side comparisons of the Subject        Neman Decl. ⁋29 –
 5
                                                                    Exhibits 23-25.
 6               Designs and the Infringing Garments reveals

 7               they are virtually identical in most of the
 8               objective details of the elements forming the
 9               designs and even arrangements of the elements.
10               The chance for the two independently created
11               designs to happen to have the same elements
12               identical in details and the same arrangement of
13               those elements would be far less than one in a
14               million, in other words impossible.
15
             33. The first page of Exhibit 23 shows most of the     Neman Decl. ⁋30 –
16
                 elements, if not all, on the Infringing Garment 1 Exhibit 23.
17
                 are copied from the Subject Design 1. The
18
                 second page shows the major motif (indicated
19
                 in red circles) having the main elements
20
                 arranged in a certain way are identical while
21
                 there were some crude efforts to give the
22
                 appearance of dissimilarity on the Infringing
23
                 Design 1 by taking out a few small leaves or
24
                 flowers. Not only the arrangement, the shapes
25
                 of the flower, flower buds, stems, leaves, and
26
                 color shadings are also the same. These are not
27
                 a combination of generic shapes like triangle,
28



                                                 13
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 1               circle, square or line, but about a very detailed
 2               hand-drawn and intricate description of
 3               flowers, stems, leaves, and their arrangement.
 4               No designer would not be able to draw the
 5               design twice in the exact same way in such
 6               details without seeing it and copying it. This
 7               part standing alone forms an original and
 8               protectible element, and the Infringing Garment
 9               1 copied it.
10
             34. Even the elements describing small flowers,         Neman Decl. ⁋30 –
11
                 small leaves, and small stems, as well as their
12
                                                                     Exhibit 23.
                 shapes, shades, locations, colors, directions and
13
                 arrangements are strikingly identical, which
14
                 cannot possibly be a coincidence of two
15
                 independently created design having such
16
                 identities in every details. The second and the
17               third pages of Exhibit 23 also show the
18               remaining elements on Infringing Garment 1
19               were nothing but the result of flipping or
20               rotating the elements of the Subject Design 1.
21
22           35. The same is true about the Infringing Garment       Neman Decl. ⁋31 –
                                                                     Exhibit 24.
23               2. On the first page, the circles in different
24               colors indicate which parts are corresponding to
25               each other on the two. Most of the elements, if
26               not all, on the Infringing Garment 2 are from
27
                 the elements of the Subject Design 2.
28



                                                  14
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 1           36. The second page of Exhibit 24 shows the biggest Neman Decl. ⁋32 –
 2               element as the main motif, circled in red on page Exhibit 24.
 3               1, are identical in shapes, arrangements,
 4               directions, and locations while there were some
 5               crude efforts to give the appearance of
 6               dissimilarity on some leaves or flowers. Such
 7               also appear to be the result of lowering the
 8               printing cost for the garment’s low pricing by
 9               simplifying some details and colors of the
10               elements. Pages 3, 4 and 5 also show the
11               remaining elements used on the Infringing

12               Garment 2 are nothing but a rotated or flipped

13               version of the elements on the Subject Design 2.

14
             37. The first page of Exhibit 25 again shows the        Neman Decl. ⁋33 –
15
                 main motifs on the Infringing Garment 3 are         Exhibit 25.
16
                 copies of the elements on the Subject Design 3.
17               The second page shows all elements of the
18               main motif circled in red on the first page are
19               the same as the elements of the Subject Design
20               3. The third page also shows the remaining
21               elements are in fact a rotated or flipped version
22               of the element on Subject Design 3.
23
24
             38. As discussed above, the comparisons of the care Neman Decl. ⁋34 -
                 tags of the Prior Infringing Garments 1 and 2 Exhibits 39-40.
25
                 with the same of the Infringing Garments 1 and
26
                 2 show the Infringing Garments at issue in this
27
                 case are not part of the prior production of the
28



                                                 15
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 1               Prior Infringing Garments. It was a new
 2               production that happened in July 2020, which
 3               procedure started from May 2020 which was
 4               less than two months after the settlement on
 5               March 23, 2020 in the Prior Case.
 6
             39. Interfocus failed to present any evidence for Jeong Decl. ⁋35; Exhibit
 7
                 such rebuttal, rather, the evidence below 42, Responses to
 8
                 strongly show that NB owns the Subject Design.
                                                                 Interrogatories No. 1-5.
 9
                 For example, in response to the interrogatories
10
                 asking about Interfocus’ or its vendor’s
11
                 independent creation and any prior work,
12
                 Interfocus stated only “it is informed and
13
                 believes the designs at issue are very similar to
14
                 independently created pre-existing designs…”
15
                 which has no evidentiary value at all. (emphasis
16
                 added)
17
18           40. Interfocus response to Interrogatory 6 admits       Jeong Decl. ⁋36; Exhibit
19               that in the ordinary procedures, Interfocus         42, Responses to
                 orders the garments it likes after it reviews the
20                                                                   Interrogatory No. 6.
21
                 sample pictures, and do the quality inspection,
                 and start sales of the garments.
22
23           41. Interfocus further admitted it controled the Jeong Decl. ⁋37; Exhibit
24               display procedure of the garments by stating 42, Responses to
25               Interfocus’ vendors do not upload the
                                                                  Interrogatory No. 7.
26               information relating to the Infringing Garments.
27
28



                                                    16
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 1           42.        The above clearly shows Interfocus soon       Jeong Decl. ⁋38;
 2
                   after signing the Prior Settlement Agreement on Exhibits 33, 39, 40.
 3
                   March 23, 2020, promptly started the sampling
 4
                   procedure, reviewed the samples of the
 5
                   Infringing Garments 1 and 2, ordered them
 6
                   again as Interfocus liked it in May 2020
 7
                   (Exhibits 39 and 40), uploaded the garment
 8
                   pictures with the information on the website on
 9
10                 July 1, 2020 for Infringing Garment 1 and June

11                 19, 2020 for Infringing Garment 2 and sold

12                 them until September 16, 2020. Exhibit 33.
13                 Even worse, it turned out the Interfocus
14                 continued to sell the Prior Infringing Garment 1
15                 and the Prior Infringing Garment 2 even after
16                 the Prior Settlement until September 2020.
17                 Exhibit 33.
18
             43. The above shows it is undisputed soon after the Jeong Decl. ⁋39.
19
20                 settlement of the Prior Case where the Subject

21                 Designs 1 and 2 were litigated, Interfocus again

22                 reviewed, chose, ordered, uploaded, displayed

23                 and sold the Infringing Garments 1 and 2,
24                 which sufficiently establishing copying after
25                 the actual access.
26
27
28



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 1           44. Even as to Subject Design 3, Interfocus should       Jeong Decl. ⁋40; Exhibit
 2
                 be found to be a willful infringer under             42, Response to
 3
                 Unicolors v. Urban Outfitters. In response to        Interrogatory No. 18.
 4
                 the interrogatory asking about preventive
 5
                 measures Interfocus has taken, Interfocus stated
 6
                 Interfocus takes down the garments after
 7
                 receiving notices, which is not a “preventive”
 8
                 measure at all. Interfocus also stated in its
 9
10               response that it requires vendors to license its

11               intellectual property to Interfocus. Again, it at

12               the best means only if a vendor has an
13               intellectual property, it would have to license it
14               to Interfocus, which has nothing do to with
15               reasonable preventive measure such as
16               checking on the source of the design on the
17               samples when reviewing and before making an
18               order.
19
             45. In the discovery, Interfocus never produced any Jeong Decl. ⁋41; Exhibit
20
                 evidence showing such reasonable efforts. The 42, Response to
21
                 sampling procedure explained in Interfocus
                                                                 Interrogatory No. 6.
22
                 responses in fact admits it simply review, like
23
                 and then order. There is no checking on
24
                 copyright issues. Rather, even after knowing on
25
                 the copyright issues, Interfocus would dare to
26
                 order again, and display and sell online again. It
27
                 is exactly what the Nineth Circuit Court called
28



                                                  18
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 1               “willful blindness”, “reckless policy”, and “no
 2               attempt to check or inquire” into copyright
 3               issues.
 4
             46. In this case, Interfocus produced only a self- Jeong Decl. ⁋42; Exhibit
 5
                 serving chart made after receiving the cease and 42, Responses to
 6
                 desist letter in September 2020, in anticipation
 7
                                                                     Interrogatories 11 and
                 of a litigation, which is nothing but a hearsay. In
 8
                                                                     12.
                 response to the interrogatories asking for
 9
                 accounting the total sales, earnings and costs,
10
                 Interrogatory stated it would produce charts.
11
                 Interfocus never produced any real business
12
                 records, such as purchase order, invoice, or sales
13
                 reports from the sales record keeping system.
14
15
16
17
18
19
20
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 1                   STATEMENTS OF CONCLUSIONS OF LAW
 2
             1. The purpose of summary judgment is to Celotex v. Catrett, 477 U.S.
 3
                isolate and dispose of legally untenable or 317, 324 (1986)
 4
                factually unsupportable claims.
 5
 6
 7           2. Once the moving party meets this initial          Fed. R. Civ. P. 56(e) (West
 8              burden, the opposing party must set forth
                                                                  2021);    Matsushita   Elec.
 9              specific facts showing that there is a genuine
                                                                  Indus. Co. v. Zenith Radio
10              issue for trial; otherwise, the moving party is
                                                                  Corp., 475 U.S. 574, 584
11              entitled to judgment as a matter of law.
                                                                  (1986).
12
13
14           3. Once the burden is shifted, a mere scintilla Id. (quoting Anderson v.

15              of evidence is insufficient; “there must be Liberty Lobby, Inc., 477
16              evidence on which the jury could U.S. 242, 252 (1986)).
17              reasonably find for the [non-movant].”
18
19
             4. To avoid entry of summary judgment, the           Anderson v. Liberty Lobby,
20
                opposing party must produce specific              Inc., 477 U.S. 242, 247-48
21
                material evidence capable of “affect[ing] the (1986).
22
                outcome of the suit under the governing
23
                law.” “Factual disputes that are irrelevant or
24
                unnecessary will not be counted.”
25
26           5. In addition, the non-moving party must            Keenan v. Allan, 91 F.3d
27              “identify with reasonable particularity the       1275, 1279 (9th Cir. 1996).
28              evidence that precludes summary



                                                20
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 1              judgment.” A non-moving party is required
 2              to produce “evidence on which the jury
 3              could reasonably find for” the non-moving
 4              party.
 5
             6. To meet its burden, the non-moving party’s Addisu v. Fred Meyer, Inc.
 6
                                                                  198 F. 3d 1130, 1134 (9th
 7              evidence must be substantive, a “scintilla of
                                                                  Cir. 2000).
 8              evidence or evidence that is merely colorable

 9              or not significantly probative does not present
10              a genuine issue of, material fact.”
11
12
             7. And “uncorroborated and self-serving              Villiarimo v. Aloha Island
13              testimony,” without more, will not create a       Air Inc., 281 F.3d 1054,
14              “genuine issue” of material fact precluding       1061 (9th Cir. 2002).
15              summary judgment.
16
17           8. Further, “[t]he non-movant’s burden to Avery Dennison Corp. v.
                                                                  Acco Brands, Inc., 2000
18              demonstrate a genuine issue of material fact
                                                                  U.S. Dist. LEXIS 3938,
19              increases when the factual context renders its
                                                                  *10-11 (C.D. Cal. Feb. 22,
20              claim implausible.”
                                                                  2000); Matsushita Electric
21
                                                                  Industrial Co. v. Zenith
22
                                                                  Radio Corp., 475 U.S. 574,
23
                                                                  587, 106 S. Ct. 1348, 1356,
24
                                                                  89 L. Ed. 2d 538 (1986).
25
26
27
28



                                                21
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 1           9. Thus, “mere disagreement or the bald             Harper v. Wallingford, 877
 2               assertion [by the nonmovant] that a genuine     F.2d 728, 731 (9th Cir.
 3               issue of material fact exists” does not         1989).
 4               preclude summary judgment.
 5
             10. Infringement of a copyright occurs (1) when 17 U.S.C. § 106 (West
 6
                 any one of the exclusive rights of a            2021).
 7
                 copyright owner has been violated. 17
 8
                 U.S.C. § 501. The five exclusive rights,
 9
                 sometimes referred to as the "bundle of
10
                 rights" belonging to an owner, are the rights
11
                 to:
12
                               1. Reproduce the work.
13
                               2. Prepare derivative works
14
                               based on the copyrighted
15
                               work.
16
                               3. Distribute copies to the
17                             public.
18                             4. Perform the work publicly.
19                             5. Display the copyrighted
20                             work publicly.
21
22           11. To establish infringement, a plaintiff need     17 U.S.C. § 106. See 17
                                                                 U.S.C. § 501(a) (West
23               only demonstrate that the alleged
                                                                 2019); Baxter v. MCA, Inc.,
24               infringers violated at least one exclusive
                                                                 812 F.2d 421, 423 (9th Cir.
25               right granted to copyright holders.
                                                                 1987).
26
27
28



                                                 22
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 1           12. A copyright registration certificate             17 U.S.C. § 410(c) (West
 2               constitutes prima facie evidence of the          2019); Gold Value
 3               validity of the copyright and all facts stated   International Textile, Inc. v.
 4               on the certificates, including the statements    Sanctuary Clothing, LLC,
 5               relating to originality and Plaintiff’s          925 F.3d 1140, 1144 (9th
 6               ownership of the designs.                        Cir. 2019), cert. denied, 140
 7                                                                S. Ct. 1294 (2020); 9th
 8                                                                CIRCUIT MODEL JURY
 9                                                                INSTRUCTION 17.5.
10
             13. Defendant bears the burden of rebutting          Hamil America Inc. v. GFI,
11
                 the presumption of validity. Hamil
12
                                                                  193 F.3d 92, 98 (2d Cir.
                 America Inc. v. GFI, 193 F.3d 92, 98 (2d
13                                                                1999). ; See Masquerade
                 Cir. 1999). To invalidate this prima facie
14                                                                Novelty, Inc. v. Unique
                 showing, Defendants must prove that the
15                                                                Indus., Inc., 912 F.2d 663,
                 applicant defrauded the Copyright Office,
16                                                                668 n.5 (3d Cir. 1990) (“that
                 and that the putative fraud related to the
17               underlying ability to register the work.         an inadvertent omission
18                                                                from a registration
19                                                                application will render a
20                                                                plaintiff’s copyright
21                                                                incapable of supporting an
22
                                                                  infringement action has not
23
                                                                  gained acceptance with the
24
                                                                  courts”)’ 2-7 Melville B.
25
                                                                  Nimmer & David Nimmer,
26
                                                                  Nimmer on Copyright §
27
                                                                  7.20[B], n.19 (1999) (a
28



                                                  23
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 1
                                                                 misstatement in the
 2
                                                                 registration application does
 3
                                                                 not “render the registration
 4
                                                                 certificate incapable of
 5
                                                                 supporting an infringement
 6
                                                                 action”).
 7
 8           14. Plaintiff should show that Defendant copied     L.A. Printex Indus, Inc. v.

 9                                                               Aeropostale, Inc. 676 F.3d
                 original aspects of its copyrighted design
10                                                               841, 846 (9th Cir. 2012).
                 without its permission.
11
             15. In addition to showing that a defendant         L.A. Printex Indus, Inc. v.
12
                                                                 Aeropostale, Inc. 676 F.3d
13               actually copied the subject design, there are
                                                                 at 846 (9th Cir. 2012)
14               two ways to establish the “presumption” of
                                                                 (quoting Feist Publ’ns, Inc.
15               Defendant’s copying when there is no direct
                                                                 v. Rural Tel. Serv. Co., 499
16               evidence of copying by presenting evidence
                                                                 U.S. 340, 361 (1991));
17               demonstrating (1) striking similarities of
                                                                 Reyher v. Children's
18               the two designs: or (2) substantial             Television Workshop, 533
19               similarities in the inverse-ratio sliding       F.2d 87, 90 (2d. Cir. 1976).
20               scale with the defendants’ reasonable
21
                 opportunity to access to the plaintiff’s
22
                 work.
23
             16. Even if the evidence of Defendants’ access      Lipton v. Nature Co., 71
24
                                                                 F.3d 464, 471 (2d Cir. 1995)
25               were disputed, when two designs are “so
                                                                 (citing Smith, 84 F.3d at
26               strikingly similar as to preclude the
                                                                 1220; See also Baxter, 812
27               possibility of independent creation, copying
                                                                 F.2d at 424, n.2 (“Proof of
28



                                                 24
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 1                                                                striking similarity is an
                 may be proved without a showing of
 2                                                                alternative means of proving
                 access.”
 3                                                                ‘copying’ where proof of
 4                                                                access is absent”), cert.
 5                                                                denied, 484 U.S. 954
 6                                                                (1987)).
 7
             17. Striking similarity exists when the              Selle v. Gibb, 741 F.3d 896,
 8
                 similarities are sufficiently unique or          903 (7th Cir. 1984).
 9
                 complex as to make it unlikely that it was
10
                 independently created.
11
12           18. A plaintiff “must demonstrate that such          Testa v. Janssen, 492 F.

13               similarities are of a kind that can only be      Supp. 198, 203 (W.D.Pa

14               explained by copying, rather than by             1980) (quoting

15               coincidence, independent creation, or prior      Stratchborneo v. Arch

16               common source.”                                  Music Corp., 357 F. Supp.

17                                                                1393, 1403 (S.D.N.Y.

18                                                                1973)).

19
             19. Selle v. Gibb identified six factors for         Selle v. Gibb, 741 F.2d 896,
20                                                                903-904 (7th Cir. 1984)(
                 determining striking similarity: (1) the
21
                 "striking similarity" is not merely a function
22
                 of the number of identical notes that appear
23
24               in both compositions: (2) the uniqueness of

25               the sections that are asserted to be similar:

26               (3) if the complaining work contains an
27               unexpected departure from the normal
28               metric structure or if the complaining work


                                                  25
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 1
                 includes what appears to be an error and the
 2
                 accused work repeats the unexpected
 3
                 element or the error, then it is more likely
 4
                 that there is some connection between the
 5
                 pieces: (4) if the similar sections are
 6
                 particularly intricate, then again it would
 7
                 seem more likely that the compositions are
 8
                 related: (5) some dissimilarities that may be
 9
10               particularly suspicious, such as inversion

11               and substitution of certain words in a "crude

12               effort to give the appearance of
13               dissimilarity," are themselves evidence of
14               copying: and (6) the similarity should appear
15               in a sufficiently unique or complex context
16               as to make it unlikely that both pieces were
17               copied from a prior common source.
18
19
             20. The 9th Circuit Court in Unicolors, Inc. v.     (emphasis added) 853 F.3d
20
                 Urban Outfitters, Inc. held;                    980, 987 (9th Cir. 2017), for
21
                               We conclude that a district       additional opinion,
22
                               court may grant summary           see, 2017 WL 1247134 (9th
23
                               judgment for plaintiffs on the    Cir. 2017)
24
                               issue of copying when the
25
                               works are so overwhelmingly
26
                               similar that the possibility of
27
                               independent creation is
28



                                                  26
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 1                            precluded. The works at issue
 2                            in this case meet this standard.
 3                            The objective similarities
 4                            between the works are stark:
 5                            the shapes, motifs,
 6                            arrangements, spacing, and
 7                            colors of the images in each
 8                            design are nearly identical..
 9
10
11
             21. Copying is presumed upon showing that (1) L.A. Printex Indus, Inc. v.
12
                that the defendant had reasonable                Aeropostale, Inc. 676 F.3d
13
                opportunity to access to the plaintiff’s
                                                                 841, 846 (9th Cir. 2012)
14
                work and (2) that the works are
                                                                 (quoting Feist Publ’ns, Inc.
15
                substantially similar.”
                                                                 v. Rural Tel. Serv. Co., 499
16
                                                                 U.S. 340, 361 (1991)). In
17
                                                                 the Ninth Circuit, the access
18
                                                                 and substantial similarity
19
                                                                 elements of infringement are
20
                                                                 “inextricably linked” by an
21
                                                                 inverse ratio rule. 9th
22
                                                                 CIRCUIT MODEL JURY
23
                                                                 INSTRUCTION 17.16. See
24
                                                                 also Benay v. Warner Bros.
25
                                                                 Entm’t, Inc., 607 F.3d 620,
26
                                                                 625 (9th Cir. 2010) (“Under
27
                                                                 the ‘inverse ratio’ rule, if a
28



                                                27
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 1                                                                defendant had access to a
 2
                                                                  copyrighted work, the
 3
                                                                  plaintiff may show
 4
                                                                  infringement based on a
 5
                                                                  lesser degree of similarity
 6
                                                                  between the copyrighted
 7
                                                                  work and the allegedly
 8                                                                infringing work.”).
 9
             22. In Skidmore v. Led Zeppelin, 905 F.3d 1116, (emphasis added) Skidmore,
10
                1125-30 (9th Cir. 2018), the Ninth Circuit        905 F.3d at 1125 (citing
11
                provided "To prove ‘unlawful                      Rentmeester v. Nike, Inc.,
12
                appropriation,’ the works must share              883 F.3d 1111, 1117 (9th
13
                substantial similarities and those similarities   Cir. 2018)).
14
                must involve parts of the plaintiff’s work
15
                that are original and therefore protected by
16
                copyright."
17
18           23. The originality is presumed because the          3 NIMMER ON
19              United States Copyright Office                    COPYRIGHT § 12.11[A]
20              granted Plaintiff a Certificate over the          (1989).

21              Subject Design, and "[s]ince originality of

22              the

23              author is a necessary condition to the

24              validity of the copyright, it follows that a

25              certificate of registration properly obtained

26              within the prescribed five year period

27              constitutes prima facie evidence of the

28
                author's originality."



                                                 28
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 1               24. For copyright purposes, the required level        See United States v.
 2                   of creativity is "minimal," and                   Hamilton, 583 F.2d 448,
 3                   "sweat of the brow" in creation is "wholly 452 (9th Cir. 1978); see
 4                   irrelevant." CDN, Inc. v. Kapes, 197 F.3d         also Rentmeester v. Nike,
 5                   1256, 1259-61 (9th Cir. 1999). The circuit        Inc., 883 F.3d 1111, 1121
 6                   has recognized originality or creativity in a     (9th Cir. 2018) (noting that
 7                   variety of works, including in: a price list      photographer’s "selection
 8                   that reflected selection and weighing of          and arrangement of
 9                   price date, see id.; a musical composition        [creative] elements
10                   with the same pitch and sequence as               produced an image
11                   another work, but with a nonidentical meter,      entitled to the broadest

12                   tempo or key, see Swirsky, 376 F.3d at            protection a photograph can

13                   851; and a picture, based on its subject,         receive").

14                   posture, background, lighting, or

15                   Perspective.

16
                 25. The Ninth Circuit applies a two-part test in      Smith, 84 F.3d at 1218; L.A.
17                   determining substantial similarity: the           Printex Indus., Inc. 676 F.3d
18                   extrinsic test and the intrinsic test. Three      at 849 (citing Cavalier v.
19                   Boys Music Corp., 212 F.3d at 485. The            Random House, Inc., 297
20                   extrinsic test “considers whether two works       F.3d 815, 826 (9th Cir.
21                   share a similarity of ideas and expression        2002)) (quoting Pasillas v.
22                   based on external, objective criteria.” the       McDonald’s Corp., 927
23                   context of comparing fabric designs, the          F.2d 440, 442 (9th Cir.
24                   extrinsic test examines “the similarities in      1991)) (internal quotations
25                   their objective details in appearance,            omitted). 1
26                   including, but not limited to, the subject
27
28
     1
         See also Apple Computer, Inc. v. Microsoft Corp., 35 F.3d 1435, 1442 (9th Cir. 1994).


                                                      29
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 1               matter, shapes, colors, materials, and
 2               arrangement of the representations.”
 3               (internal quotations omitted). The intrinsic
 4               test, on the other hand, asks “whether the
 5               ordinary, reasonable person would find the
 6               total concept and feel of the works to be
 7               substantially similar.”
 8
 9
             26. “It is entirely immaterial that, in many       (emphasis added) L.A.
10
                 respects, plaintiff’s and defendant’s          Printex Ind., 676 F. 3d. at
11
                 works are dissimilar, if in other respects,    851
12
                 similarity as to a substantial element of      (citing 4 NIMMER ON
13
                 plaintiff’s work can be shown.”                COPYRIGHT § 13.03[B]
14
                                                                [1][a]). Thus, an analysis
15
                                                                should focus on the
16
                                                                elements that are similar,
17
                                                                not on the elements that
18
                                                                are dissimilar. See 4
19
                                                                NIMMER ON
20
                                                                COPYRIGHT § 13.03[B]
21
                                                                [1][a] (2017).
22
23           27. “Fragmented literal similarity exists where    Newton v. Diamond, 388

24               the defendant copies a portion of the          F.3d 1189, 1195 (9th Cir.

25
                 plaintiff's work exactly or nearly exactly,    2004); (emphasis added)

26
                 without appropriating the work's overall       Sheldon v.Metro-Goldwyn
                 essence or structure.” “[I]t                   Pictures Corp., 81 F.2d 49,
27
                                                                56 (2d Cir. 1936).
28



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 1                 is enough that substantial parts were lifted;
 2                 no plagiarist can excuse the wrong by
 3                 showing how much of his work he did not
 4                 pirate.”
 5
             28. Along the same line, the Ninth Circuit Court (emphasis added) Shaw v.
 6
                   also held “Even if a copied portion be           Lindheim, 919 F.2d 1353,
 7
                   relatively small in proportion to the entire 1363 (9th Cir. 1990).
 8
                   work, if qualitatively important, the finder
 9
                   of fact may properly find substantial
10
                   similarity.”
11
12           29.          An infringing design can be
                                                                    Harold Lloyd Entm't, Inc. v.
13                 substantially similar even if the allegedly
                                                                    Moment Factory One, Inc.,
14                 copied material constitutes only a small
                                                                    No.
15                 portion of the challenged work.
                                                                    LACV1501556JAKMRWX,
16
                                                                    2015 WL12765142, at *5
17
                                                                    (C.D. Cal. Oct. 29, 2015).
18
19
             30. Copying of a “major sequence” is enough            See Harold Lloyd Entm’t,
                   to find substantial similarity. Id. (citing
20                                                                  Inc., 2015 WL 12765142, at
                   Univ. Pictures Co. v. Harold Lloyd Corp.,
21                                                                  *5.
                   162 F. 2d 354, 361 (9th Cir. 1947). Copying
22
                   of these key elements of Plaintiff’s design is
23
                   a reproduction of the “major sequences”
24
                   and most “qualitatively important”
25
                   aspects of Plaintiff’s work.
26
27
28



                                                     31
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 1           31. Access can be shown if a Defendant had a         9th CIRCUIT MODEL
 2               reasonable opportunity to view, read, hear,      JURY INSTRUCTION
 3               or copy the plaintiff’s work before the
                                                                  17.16.
 4               defendant’s work was created. One way to
 5               demonstrate access is by showing plaintiff’s
 6               work was widely disseminated.
 7
             32. Given that there is no evidence of               L.A. Printex, 676 F.3d at
 8
                 independent creation, in addition to the
 9                                                                846.; Three Boys Music
                 strong showing of the similarities, there is
10                                                                Corp., 212 F.3d at 482.
                 no need to prove access. Even assuming
11
                 arguendo, given the strong showing of
12
                 similarities, Plaintiff in this case should
13
                 prove access, the level of access required in
14
                 the inverse ratio analysis is very low. Proof
15
                 of access requires an opportunity to view the
16
                 plaintiff’s work. To prove access, a plaintiff
17               must show a reasonable possibility that the
18               defendant had a chance to view the protected
19               work. Absent direct evidence of access, a
20               plaintiff can prove access using
21               circumstantial evidence of either (1) a chain
22               of events linking the work and defendant’s
23               access to that work, or (2) widespread
24               dissemination of the work.
25
             33. With respect to the willful infringement of      17 U.S.C.A. § 101 et seq.
26
                 Shosho and Ross, the court may increase the
27                                                                (West 2021).
                 award of statutory damages up to $150,000.
28



                                                  32
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 1              Merely reckless behavior can support a
 2              finding of willful infringement under
 3              Copyright Act. 17 U.S.C.A. § 101 et seq.
 4              (West 2021). A finding of willful
 5              infringement under Copyright Act does not
 6              require a showing of actual knowledge; a
 7              showing of recklessness or willful blindness
 8              is sufficient. 17 U.S.C.A. § 101 et seq.
 9              (West 2021).
10
11
             34. Retail company acted recklessly or with       Unicolors, Inc. v. Urban
12
                willful blindness to fabric designer's
13                                                             Outfitters, Inc., 853 F.3d
                copyright, so as to willfully infringe
14                                                             980, 991-92 (9th Cir. 2019).
                designer's copyright; designer presented
15
                evidence that company adopted reckless
16
                policy with regard to copyright infringement
17
                because it made no attempt to check or
18
                inquire into whether any designs it used
19
                in its apparel were subject to copyright
20
                protections, that company kept thousands of
21
                fabric swatches at its design studio that it
22              had purchased from art studios or taken from
23              vintage clothing remnants, that company's
24              designers used swatches to create thousands
25              of apparel designs each year, and
26              that company did not attempt to discover
27              origin of subject design.
28



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 1           35. A copyright owner may seek statutory              17 U.S.C.A. § 504(c) (West
 2
                 damages in lieu of actual damages any time        2019).
 3
                 before the court renders its final judgment.
 4
 5
             36. The statutory damages awarded do not need         Lowry's Reports, Inc. v.
                 to coincide with the actual dollar loss caused
 6                                                                 Legg Mason, Inc., 302 F.
                 by the infringement.
 7                                                                 Supp. 2d 455 (D. Md.
 8                                                                 2004).
 9
             37. The factors to be considered by the court in      Broadcast Music, Inc. v.
10
                 awarding statutory damages include: “(1)
11
                                                                   C.B.G., Inc., 2013 WL
                 expenses saved and profits reaped by the
12                                                                 6074121, at *4 (D. Mass.
                 defendant, (2) revenues lost by the plaintiffs,
13                                                                 2013) (quoting Polygram
                 (3) the deterrent value of the award, and (4)
14                                                                 Intern. Pub., Inc. v.
                 whether the infringement was willful or
15                                                                 Nevada/TIG, Inc., 855 F.
                 innocent.”
16                                                                 Supp. 1314, 1335 (D. Mass.
17                                                                 1994)).
18
             38. A judge, in his discretion, may award             17 U.S.C.A. § 504(c)(1)
19
                 between $750.00 and $30,000.00 as
                                                                   (west 2021).
20
                 statutory damages for all infringements
21
                 involved in the suit for any one work against
22               any infringer absent a showing of willful
23               infringement.
24
25           39. . A defendant’s refusal to state the volume       See Dive N’Surf, Inc. v.
                 and profits arising from alleged infringing
26                                                                 Anselowitz, 834 F. Supp.
                 activities during discovery supports a higher
27                                                                 379, 383 (M.D. Fla 1993)
                 amount of statutory damages.
28                                                                 (awarding maximum


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 1
                                                          statutory damages to
 2
                                                          defendants who refused to
 3
                                                          provide sales information).
 4
 5
 6   Dated: July 26, 2021                      Respectfully submitted,
 7                                             _/s/Chan Yong Jeong______
 8                                             Chan Yong Jeong, Esq.
 9                                             Attorney for Plaintiff
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